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                     IN THE UNITED STATES DISTRICT COURT FOR

                        THE WESTERN DISTRICT OF LOUISIANA

                                 SHREVEPORT DIVISION



 UNITED STATES OF AMERICA                         CRIMINAL ACTION NO. 01-50070-03

 versus                                           JUDGE WALTER

 SEAN M. STEPHENS                                 MAGISTRATE JUDGE HORNSBY



                                     JUDGMENT

          Pursuant to the Rules of Criminal Procedure, under Rule 35 and the

 Government’s motion for a reduction of sentence, the committed sentence imposed on

 April 5, 2002, is set aside.

          Pursuant to the Sentencing Reform Act of 1984, the defendant is committed to

 the custody of the Bureau of Prisons for one hundred eighty (180) months.

          The reduced sentence is because of the defendant’s substantial assistance to

 the Government in a criminal matter.

          The hearing date of Wednesday, January 16, 2008 is cancelled.

          THUS DONE and SIGNED at Shreveport, Louisiana, this 27th of November,

 2007.
